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Attorney for Debtor(s)

                          IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ALASKA

 In re:                                                 Case No.
  SERRANO, JASON THOMAS                                                CHAPTER 13 PLAN
                                                        G Original         G Amended
                                   Debtor(s)            Dated: December 2, 2013

          The debtor(s) propose(s) the following Chapter 13 plan:
1. Payments to Trustee: The debtor(s) will pay to the trustee:
(a) Monthly payments in the amount of          $800      , commencing on December 18, 2013 (not later than
30 days after the petition is filed) and continuing on the same day of each month thereafter for the applicable
commitment period of G three years G five years or for           months;
(b) Permanent Fund Dividends received each year during the commitment period;
(c) Tax Refunds: Debtor(s) G COMMIT(S) G DOES(DO) NOT COMMIT all tax refunds to funding the
plan. Tax refunds will be paid in addition to the plan payments stated above. If no selection is made, tax
refunds are committed.
(d) Additional payments of               each (     in number), totaling       $0      , to be paid as follows:




2. Trustee's Distributions to Creditors: From the payments so received, the trustee will make
disbursements in the following order (unless otherwise noted in paragraph 2(i)).
(a) Allowed administrative expenses of the trustee as provided by 11 U.S.C. § 507(a)(1)(C) in the amount
of ten percent (10%), or the percentage set from time to time by the Attorney General of the United States,
under 28 U.S.C. § 586(e).
(b) Allowed unsecured claims for domestic support as provided by 11 U.S.C. § 507(a)(1).
(c) Allowed Expenses of Administration as provided by 11 U.S.C. § 507(a)(2), including:          $1,000     in
estimated attorneys fees and costs for the debtor's attorney.
(d) Cure of Arrearage on Secured Claims That Are Not Modified: Arrearage on secured creditor's claims
that are duly filed and allowed, and are not modified, estimated as follows:
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        (i) Residential Mortgage:
                                                                  Estimated    Number of   Estimated   Interest
                       Creditor/Collateral
                                                                  Arrearage    Payments    Payment      Rate
PennyMac                                                          $15,300         36        $528       4.265
Collateral   6185 N. SITZE RD WASILLA, AK 99623

        (ii) Other Secured Claims:
                                                                  Estimated    Number of   Estimated   Interest
                       Creditor/Collateral
                                                                  Arrearage    Payments    Payment      Rate


Collateral

                                                                  Estimated    Number of   Estimated   Interest
                       Creditor/Collateral
                                                                  Arrearage    Payments    Payment      Rate


Collateral

(e) Modified Secured Claims: Distributions to secured creditors whose claims are duly filed and allowed, but
are modified, estimated as follows:
                                                                  Collateral   Number of   Estimated   Interest
                       Creditor/Collateral
                                                                   Value       Payments    Payment      Rate


Collateral

                                                                  Collateral   Number of   Estimated   Interest
                       Creditor/Collateral
                                                                   Value       Payments    Payment      Rate


Collateral

                                                                  Collateral   Number of   Estimated   Interest
                       Creditor/Collateral
                                                                   Value       Payments    Payment      Rate


Collateral

[This paragraph 2(e) addresses the repayment terms of all secured claims that are not addressed under
paragraph 2(d) above or under paragraphs 2(f) or 3 below. These "modified secured claims" are all those held
by creditors whose rights are modified under applicable bankruptcy law. The allowed claims of each creditor
listed in paragraph 2(e) will be allowed as a secured claim in the amount of the value of the security and paid
in installments as shown until the balance, with interest as stated, has been paid. The remainder of the amount
owing will be allowed as a general unsecured claim and paid under the provisions of paragraph 2(h) if a proof
of claim is duly filed and allowed.]




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(f) Secured Claims Not Modified. Distributions to secured creditors whose claims are duly filed and allowed,
but are not modified and not paid directly by debtor under paragraph 3, in accordance with the contract terms
as follows:
                                                             Estimated    Number of     Estimated    Interest
                     Creditor/Collateral
                                                              Balance     Payments      Payment       Rate


 Collateral

                                                             Estimated    Number of     Estimated    Interest
                     Creditor/Collateral
                                                              Balance     Payments      Payment       Rate


 Collateral

                                                             Estimated    Number of     Estimated    Interest
                     Creditor/Collateral
                                                              Balance     Payments      Payment       Rate


 Collateral

(g) Allowed Priority Unsecured Claims in the order and in the amount prescribed by 11 U.S.C. § 507(a)(3) -
(a)(9) including the following estimated tax claims:
                               Tax Creditor                               Type of Tax    Year       Amount




Debtor(s) will check the following correct answer:
G Yes, I/we have filed all required tax returns. G No, I/we have not filed all required tax returns.
(h) To Unsecured Non-priority Claims that are duly filed and allowed, the balance of the debtor's plan
payments will be distributed pro-rata.
(i) Alternate Payment Instructions to Trustee:
G Payments under paragraphs 2(b), (c), and (g) are to be made in equal installments over the commitment
period.
G Payments under paragraph 2(h) are to be made concurrently with payments made under paragraphs 2(a)
– (f).
G Other (specify)


3. Secured Claims Not Modified: The following creditors' claims are fully secured, are not modified, will
be paid directly by the debtor(s) outside the Plan under the original contract terms, and will receive no
distributions under Paragraph 2 (except distributions set out in paragraph 2(d) above):


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(a) Residential Mortgage:
                                                               Estimated    Number of     Estimated    Interest
                     Creditor/Collateral
                                                                Balance     Payments      Payment       Rate
 PENNYMAC LOAN SERVICES LLC                                    $215,318        282          $1,386      4.265
Collateral   6185 N. SITZE RD WASILLA, AK 99623

(b) Other: [See AK LBR 3015-1(b)(2)]
                                                               Estimated    Number of     Estimated    Interest
                     Creditor/Collateral
                                                                Balance     Payments      Payment       Rate


Collateral

                                                               Estimated    Number of     Estimated    Interest
                     Creditor/Collateral
                                                                Balance     Payments      Payment       Rate


Collateral

4. Secured Property Surrendered: The secured property described below will be surrendered to the
following named creditors, and any duly filed and allowed unsecured claim resulting from such surrender will
be paid under Paragraph 2(g):
                  Creditor                                                 Property




5. Executory Contracts: Except as provided above, the following executory contracts and unexpired leases
of the debtor(s) are assumed or rejected as noted below. If rejected, the debtor(s) will surrender any collateral
or leased property and any duly filed and allowed unsecured claim for damages will be paid under paragraph
2(g):

                                     Contract/Lease                                         Assumed Rejected

                                                                                               G          G
                                                                                               G          G
                                                                                               G          G
6. Plan Analysis/Disposable Income Analysis/Liquidation Analysis/Schedule of Direct Payments: The
attached Plan Analysis, Disposable Income Analysis, Liquidation Analysis, and Schedule of Direct Payments
to Creditors are accurate to the best of my (our) knowledge. If there are discrepancies between the Plan and
the analyses, the provisions of the Plan, as confirmed, control.




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7. Retention of Security Interests and Revesting of Property: Secured creditors will retain their liens until
the claims as determined under applicable nonbankruptcy law have been paid in full or a discharge is entered
under 11 U.S.C. § 1328 as provided by 11 U.S.C. § 1325(a)(5)(B). Except as provided in this plan or in the
order confirming the plan, upon confirmation of this plan all of the property of the estate vests in the debtor(s)
free and clear of any claim or interest of any creditor provided for by this plan under 11 U.S.C. § 1327.
8. Orders Granting Relief From Stay. If at any time during the life of this plan, an order terminating the
automatic stay is entered, no distributions under this plan will be made to the creditor obtaining relief from
stay until such time as the creditor files an amended proof of claim. The allowed claim for a deficiency will
be treated as a general unsecured claim under paragraph 2(g).
9. Plan Changes: The court may after hearing, upon such notice as the court may designate, increase or
reduce the amount or the time for payment where it appears that circumstances so warrant.
10. Certification. It is certified that the foregoing plan complies with the requirements of the applicable
provisions of the Bankruptcy Code (title 11, United States Code), the Federal Rules of Bankruptcy Procedure,
and the Alaska Local Bankruptcy Rules.
DATED: December 2, 2013

                                                              /s/ MARTIN G. U. SEVERIN 04-11079
                                                             ________________________________________
                                                                           Attorney for Debtor(s)

                                                              SIGNED UNDER PENALTY OF PERJURY.

                                                               /s/ JASON THOMAS SERRANO
                                                              ____________________________________
                                                               JASON THOMAS SERRANO , Debtor

                                                               s/
                                                              ____________________________________
                                                                                        ,Debtor




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                                          PLAN ANALYSIS
(Numerical References are to Plan Paragraphs)
 Monthly Income and Expenses:
        Monthly Income from Schedule I (excluding Alaska PFD)                                   $5,345
        Monthly Expenses from Schedule J                                                        $3,283
        Difference (Schedule I <less> Schedule J)                                               $2,062
Debtor(s) Payments to Trustee:
        1(a) $800        (Mo. Pymt.) x 36 (No. Pymts) =                                        $28,800
        1(b)             (Perm. Fund) x    (No. Years) =                                            $0
        1(c)             (Tax Refund) x    (No. Years) =                                            $0
        1(d)             (Add'l Pymts) x    (No. Pymts) =                                           $0
                                         TOTAL PAYMENTS (Life of Plan):                        $28,800
Estimated Distributions by Trustee:
        2(a) Trustee’s Commission (8% of the total plan payments)                               $2,304
        2(b) Domestic Support Obligations
        2(c) Unpaid Attorney's Fees and Costs                                                   $1,000
        2(c) Other Administrative (if known)
        2(d) Total Arrearages Secured Claims (Not Modified)
                (i) Residential Mortgage                                                       $19,008
                (ii) Other                                                                          $0
        2(e) Total Distributions Modified Secured Claims                                            $0
        2(f) Total Distributions Unmodified Secured Claims                                          $0
        2(g) Priority: Taxes                                                                        $0
                         Other
        2(h) Total Distributions Unsecured Claims                                               $6,488
                                         TOTAL DISTRIBUTIONS:                                  $28,800


                       DISPOSABLE INCOME DISTRIBUTION ANALYSIS
                        [Check ONE box as applicable and complete computation]
G Disposable Income determined under §1325(b)(3) [See Official Form 22C, Line 23]
Total Distributions Unsecured Claims (Line 2(h)) divided by 60                                     $0
Monthly Disposable Income (from Official Form 22C, Line 58)
G Disposable Income not determined under §1325(b)(3) [See Official Form 22C, Line 17 or 23]
Total Distributions Unsecured Claims (Line 2(h)) divided by 36 (months in commitment period)
[See Official Form 22C, Line 17]                                                                  $180
    Current Monthly Income [from Official Form 22C, Line 11]                                    $5,982
    <less> Marital Adjustment [as defined in Official Form 22C, Line 19]                 $0
    <less> Support Income [as defined in Official Form 22C, Line 54]                     $0
    <less> Qualified Retirement Deduction [as defined in Official Form 22C, Line 55]     $0
    <less> Monthly Expenses [from Official Form 6, Schedule J, Line 18]              $3,283
    <less> Payroll Deductions [from Official Form 6, Schedule I, Line 5]               $537
Monthly Disposable Income                                                                       $2,162

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                                  LIQUIDATION ANALYSIS
               (Insert Amounts from Bankruptcy Schedules for A, B, D, and E, Below)
        A. Non Exempt Equity: in real property
                               in personal property
        B. Value of Property Recoverable Under Avoiding Powers
        C. Total Estate Equity (sum of A & B above)                                                  $0
        D. Total Priority Debt                                                                       $0
        E. Total Unsecured Debt                                                                  $6,499
        F. Estimated Chapter 7 Administrative Expenses                                               $0
        G. Estimated Plan Dividend (Unsecured Creditors)                                        100.0%
        H. Estimated Chapter 7 Dividend (Unsecured Creditors)                                     0.0%



 SCHEDULE OF DEBTOR’S LEASE PAYMENTS, PAYMENTS TO SECURED CREDITORS
                             AND DOMESTIC SUPPORT OBLIGATIONS
                                                            Estimated   Number of     Payment    Due
                   Creditor/Nature of Claim
                                                             Balance    Payments                 Date
PENNYMAC MORTGAGE                                           $15,300        36          528      18TH
Claim MORTGAGE ARREARAGE

                                                            Estimated   Number of     Payment    Due
                   Creditor/Nature of Claim
                                                             Balance    Payments                 Date


Claim

                                                            Estimated   Number of     Payment    Due
                   Creditor/Nature of Claim
                                                             Balance    Payments                 Date


Claim




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